     Case 1:05-cv-11777-REK        Document 31        Filed 10/20/2005       Page 1 of 1



                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
CHUKWUMA E. AZUBUKO,                 )
      Plaintiff                      )
                                     )
                                     )
      v.                             )
                                     )
                                     )  CIVIL ACTION
MBNA AMERICA BANK and EXPERIAN )        NO. 05-11777-REK
INFORMATION SOLUTIONS, INC.,        )
      Defendants                    )
____________________________________)


                                      Final Judgment
                                      October 20, 2005



             For the reasons stated in the Memorandum and Order of this date, it is

ORDERED:

             Plaintiff’s Complaint (Docket No. 2) is DISMISSED with prejudice.




Approved:                                         By the Court,

_/s/Robert E. Keeton______________                _/s/Karen Folan______________________
Robert E. Keeton                                  Karen Folan, Deputy Clerk
Senior United States District Judge
